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WESTERN DISTRICT OF LOUISIANA
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UNITED STATES DISTRICT COURT

ROBERT On CLERK
BY DEPUTY WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION

UNITED STATES OF AMERICA Cr.No. 87 -(00A3-O0/
18 U.S.C. 8111

VERSUS (Assault of Government Employee)

JUDGE DRELL
MAGISTRATE JUDGE KIRK

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SHANE McMILLAN
INDICTMENT

On or about October 24, 2006, in the Western District of Louisiana, the defendant, SHANE
McMILLAN, did forcibly assault, resist, oppose, impede, ‘intimidate, and interfere with J. B., a
corrections officer at the United States Penitentiary in Pollock, Louisiana, while J, B. was engaged
in his official duties, and did cause bodily injury to J. B., in violation of Title 18, United States Code,
Section 111. [18 U.S.C. § 111].

A TRUE BILL:

DONALD W. WASHINGTON
UNITED STATES ATTORNEY

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Six yo. Ll LY
Shih sr Bar ID#25957<—_
Assistant United Statés Attorney

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